  Case 2:21-cv-00067-Z Document 33 Filed 05/17/21             Page 1 of 9 PageID 812



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                AMARILLO DIVISION


                                          )
STATE OF TEXAS,                           )
STATE OF MISSOURI,                        )
                                          )
      Plaintiffs,                         )
                                          )
      v.                                  )      Civil Action No. 2:21-cv-00067-Z
                                          )
JOSEPH R. BIDEN, JR.,                     )
in his official capacity as               )
President of the United States, et al.,   )
                                          )
      Defendants.                         )
                                          )

DEFENDANTS’ OPPOSED MOTION TO STAY PROCEEDINGS PENDING RULING
ON THEIR MOTION TO TRANSFER AND UNOPPOSED MOTION TO EXPEDITE

                                              BRIAN M. BOYNTON
                                              Acting Assistant Attorney General

                                              WILLIAM C. PEACHEY
                                              Director
                                              Office of Immigration Litigation
                                              District Court Section

                                              EREZ REUVENI
                                              Assistant Director

                                              JOSEPH A. DARROW
                                              Trial Attorney

                                              FRANCESCA GENOVA
                                              Trial Attorney
                                              U.S. Department of Justice
                                              Civil Division
                                              Office of Immigration Litigation
                                              District Court Section
                                              P.O. Box 868, Ben Franklin Station
                                              Washington, DC 20044
                                              Tel.: (202) 305-1062
                                              Francesca.M.Genova@usdoj.gov
    Case 2:21-cv-00067-Z Document 33 Filed 05/17/21                 Page 2 of 9 PageID 813


       Defendants respectfully move this Court to stay all briefing and proceedings in this case

pending resolution of Defendants’ motion to transfer, ECF 11, and expedite briefing of this

motion. 1 For the following reasons that establish good cause, Defendants respectfully request that

the Court set a briefing schedule of May 24 for Plaintiffs’ Response to this Motion and May 28

for Defendants’ Reply. Defendants conferred with Plaintiffs, who oppose the motion to stay.

Plaintiffs do not oppose the motion to expedite briefing of this stay motion.

       On April 13, 2021, Plaintiffs the States of Texas and Missouri filed this lawsuit challenging

the suspension of new enrollments in the Migrant Protection Protocols (“MPP”) program pending

review, which occurred approximately three months earlier, on January 21, 2021. Compl., ECF 1,

Compl. Ex. A. On May 3, 2021, the government moved to transfer this case to the Southern District

of Texas because the Rio Grande Valley is the largest hub of the activities challenged in this

lawsuit and the most appropriate venue for this suit. ECF 11.

       Staying the case and all briefing deadlines pending this Court’s resolution of that transfer

motion would promote the orderly course of justice. As explained below, courts—including the

Fifth Circuit—have recognized that a ruling on a motion to transfer should take first priority over

any other rulings, both on merits and discovery. That is because any ruling that this Court makes

on the preliminary injunction, or any other substantive or procedural issue for that matter, before

ruling on the transfer motion would be premature, inefficient, and waste this Court’s and the

transferee court’s resources if this Court were to ultimately grant the motion to transfer.

       “The District Court has broad discretion to stay proceedings as an incident to its power to

control its own docket.” Clinton v. Jones, 520 U.S. 681, 706 (1997); see United States v. W. Elec.


1The government received notice of this Court’s order requesting proposed briefing schedules and
will file that document by May 20, 2021, per that order. ECF 32. It had already conferred with
Plaintiffs on this motion and the unopposed motion to expedite before that order issued.


                                                 1
   Case 2:21-cv-00067-Z Document 33 Filed 05/17/21                     Page 3 of 9 PageID 814


Co., 46 F.3d 1198, 1207 n.7 (D.C. Cir. 1995) (that broad discretion includes the “inherent power

to control the sequence in which it hears matters on its calendar”). Courts consider “the following

factors when determining whether to grant a stay of a proceeding: (1) prejudice that the non-

moving party will suffer if a stay is granted; (2) hardship and inequity imposed on the moving

party if the action proceeds; and (3) interests of judicial economy.” Magana v. Shore Constr., LLC,

No. CV 17-1896, 2017 WL 2911353, at *3 (E.D. La. July 6, 2017); see Landis v. N. Am. Co., 299

U.S. 248, 254-55 (1936) (“[T]he power to stay proceedings is incidental to the power inherent in

every court to control the disposition of the causes on its docket with economy of time and effort

for itself, for counsel, and for litigants. How this can best be done calls for the exercise of judgment,

which must weigh competing interests and maintain an even balance.”).

        Here, all three factors support entering a stay. Addressing the hardship to Defendants and

judicial-economy factors first and together, as they substantially overlap here, given Defendants’

extant request for transfer of venue to a forum connected to the circumstances challenged in the

Complaint, Defendants—and the Court, for that matter—would be harmed if forced to engage in

substantive litigation in a forum that ultimately is determined inappropriate and the case is

resultantly transferred. See Magana, 2017 WL 2911353, at *3.

        The Fifth Circuit has held that when a defendant “file[s] its motion to transfer timely and

before it file[s] its answer[,] … disposition of that motion should … take[] a top priority in the

handling of this case.” In re Horseshoe Ent., 337 F.3d 429, 433 (5th Cir. 2003). That follows from

the central purpose of 28 U.S.C. § 1404(a)—the statute under which Defendants have moved to

transfer venue—to prevent “wasted time, energy and money” was the paramountcy of “the interest

of justice.” See Van Dusen v. Barrack, 376 U.S. 612, 616 (1964). “[T]o undertake a consideration

of the merits of the action is to assume, even temporarily, that there will be no transfer before the




                                                   2
   Case 2:21-cv-00067-Z Document 33 Filed 05/17/21                 Page 4 of 9 PageID 815


transfer issue is decided.” McDonnell Douglas Corp. v. Polin, 429 F.2d 30, 30 (3d Cir. 1970).

Hence, “[j]udicial economy requires that another district court should not burden itself with the

merits of the action until it is decided that a transfer should be effected and such consideration

additionally requires that the court which ultimately decides the merits of the action should also

decide the various questions which arise during the pendency of the suit instead of considering it

in two courts.” Id.

       Applying this case law, courts routinely stay a case pending resolution of a transfer motion,

or decide a transfer motion before any other pending motions, even where other substantive or

discovery motion going to the merits is pending. See Enplanar, Inc. v. Marsh, 11 F.3d 1284, 1291

(5th Cir. 1994) (finding “no authority ... holding the district court has abused its discretion in

denying merits-related discovery pending ruling on a motion for change of venue”); In re SK hynix

Inc., 835 F. App’x 600, 601 (Fed. Cir. 2021) (applying Fifth Circuit law granting mandamus to

“stay all proceedings concerning the substantive issues of the case and all discovery” until the

district court ruled on the motion to transfer); In re Google Inc., No. 2015-138, 2015 WL 5294800,

at *1 (Fed. Cir. July 16, 2015) (granting mandamus in Eastern District of Texas case to stay

proceedings pending resolution of the motion to transfer venue and noting that “when defendants

are forced to expend resources litigating substantive matters in an inconvenient venue” it

“frustrate[s] 28 U.S.C. § 1404(a)’s intent”); In re EMC Corp., 501 F. App’x 973, 975 (Fed. Cir.

2013) (in appeal from the Eastern District of Texas, emphasizing “the importance of addressing

motions to transfer at the outset of litigation” because otherwise “Congress’ intent ‘to prevent the

waste of time, energy, and money and to protect litigants, witnesses and the public against

unnecessary inconvenience and expense may be thwarted’”) (quoting Van Dusen, 376 U.S. at 616);

Klein v. Silversea Cruises, Ltd., Case No. 3:14-cv-02699-G, 2014 WL 7174299 (N.D. Tex. Dec.




                                                 3
   Case 2:21-cv-00067-Z Document 33 Filed 05/17/21                   Page 5 of 9 PageID 816


16, 2014) (staying discovery pending resolution of the motion to transfer venue); Merle Norman

Cosms. v. Martin, 705 F. Supp. 296, 297 (E.D. La. 1988) (deciding section 1404(a) motions to

transfer before both previously and subsequently filed motions for preliminary injunctions and

summary judgment); Mobil Oil Corp. v. W. R. Grace & Co., 334 F. Supp. 117, 120 (S.D. Tex.

1971) (noting “the Court entered an order staying the submission and/or consideration of discovery

and pleading motions until it had acted upon the motions to transfer, sever and stay”); Louisiana

Forestry Ass’n, Inc. v. Solis, 814 F. Supp. 2d 655, 657 (W.D. La. 2011) (deciding even a

subsequently filed motion to transfer venue before denying the first-filed preliminary injunction

motion without prejudice to refiling in transferee forum); Harry Winston, Inc. v. Zale Jewelry Co.,

191 F. Supp. 686, 693 (S.D.N.Y. 1961) (deciding subsequently filed transfer motion prior to

motion for preliminary injunction and staying consideration of the latter pending transfer).

       The same applies to the present case. Before the motion to transfer has been fully briefed

and ruled upon, any briefing or consideration of Plaintiffs’ preliminary injunction motion is

premature and could likely waste judicial and the parties’ resources. As Defendants explained in

the motion to transfer, the Southern District of Texas is the most appropriate and convenient venue,

as the locus of events related to this lawsuit has taken place there and that district is familiar with

MPP and other border cases, and so transfer should occur in the interests of justice under section

1404. See generally ECF 11. It would be a waste of this Court’s and the parties’ resources to

engage in full briefing and analysis of the merits of this case, and potential expedited discovery

related to the preliminary injunction motion, when this case may be transferred to a court that

would need to consider those issues anew.

       The final factor, prejudice to the nonmovant, also supports a stay because staying other

deadlines and expediting resolution of this motion will not prejudice Plaintiffs. See Magana, 2017




                                                  4
   Case 2:21-cv-00067-Z Document 33 Filed 05/17/21                   Page 6 of 9 PageID 817


WL 2911353, at *3. To start, Plaintiffs at least must have anticipated that their preliminary

injunction motion would follow a determination on transfer, as the Fifth Circuit has been clear that

a motion to transfer once filed should take priority in the litigation. In re Horseshoe Ent., 337 F.3d

at 433. That remains true here, as Defendants’ transfer motion was filed before Plaintiffs’

preliminary injunction motion.

       Moreover, Plaintiffs’ four-month delay in seeking preliminary relief suggests that any

slight delay to resolution of the preliminary-injunction motion arising from the Court’s

consideration first of the transfer motion is unlikely to significantly prejudice Plaintiffs. As the

Fifth Circuit has recognized, a “‘long delay by plaintiff after learning of the threatened harm may

be taken as an indication that the harm would not be serious enough to justify a preliminary

injunction.”’ Opulent Life Church v. City of Holly Springs, 697 F.3d 279, 297 (5th Cir. 2012)

(quoting 11A Charles Alan Wright et al., Federal Practice and Procedure § 2948.1 (2d ed. 1995)).

Thus, the Fifth Circuit has held that where a plaintiff “waited three months before petitioning the

district court for temporary relief,” the delay was “evidence” of a lack of irreparable harm, Boire

v. Pilot Freight Carriers, Inc., 515 F.2d 1185, 1193 (5th Cir. 1975). That is precisely the situation

here: Plaintiffs cannot seriously contend that they will suffer harm during the short period of time

needed to resolve this stay motion and the transfer motion where they waited nearly three months

after the then-Acting Secretary’s decision to suspend new enrollments in MPP to initiate suit

challenging that decision, and where they waited another full month before filing any motion for

preliminary injunction. That four-month delay means that Plaintiffs cannot plausibly claim that

resolution of the preliminary injunction motion should take precedence over the transfer motion

or that they will be irreparably harmed if their preliminary-injunction motion is not immediately

decided prior to potential transfer. See, e.g., Flywheel Fitness, LLC v. Flywheel Sports, Inc., No.




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   Case 2:21-cv-00067-Z Document 33 Filed 05/17/21                  Page 7 of 9 PageID 818


13-48, 2013 U.S. Dist. LEXIS 195275, at *12 (E.D. Tex. Feb. 6, 2013) (three-month delay in

seeking injunctive relief “defeats any claim of irreparable harm”); accord Ronaldo Designer

Jewelry, Inc. v. Cox, No. 17-2, 2017 U.S. Dist. LEXIS 143047, at *26-27 (N.D. Miss. Sep. 5, 2017)

(collecting Fifth Circuit cases); cf. In re Radmax, 720 F.3d 285, 289 (5th Cir. 2013) (“[G]arden-

variety delay associated with transfer is not to be taken into consideration when ruling on a §

1404(a) motion to transfer.”). The motion to transfer will be fully briefed and ripe for disposition

by June 7, 2021, and so need not significantly postpone disposition of the preliminary injunction

motion. Indeed, Plaintiffs did not notify Defendants of their intention to file a motion for

preliminary injunction until May 14, 2021. By contrast, the Defendants have moved with dispatch,

having filed their transfer motion on May 3, 2021, and this motion one business day after Plaintiffs’

filing of their preliminary injunction motion. Therefore, Plaintiffs would not be harmed by a brief

stay pending disposition of the transfer when they filed the preliminary injunction motion in full

knowledge that the motion to transfer was pending.

       In conclusion, for the foregoing reasons, Defendants respectfully request a stay of all

briefing and proceedings in this case pending resolution of Defendants’ motion to transfer, ECF 11,

and to expedite briefing and consideration of this motion, as explained above.




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   Case 2:21-cv-00067-Z Document 33 Filed 05/17/21      Page 8 of 9 PageID 819


Date: May 17, 2021                 Respectfully submitted,

                                   BRIAN M. BOYNTON
                                   Acting Assistant Attorney General

                                   WILLIAM C. PEACHEY
                                   Director
                                   Office of Immigration Litigation
                                   District Court Section

                                   EREZ REUVENI
                                   Assistant Director

                                   JOSEPH A. DARROW
                                   Trial Attorney

                                   /s/ Francesca Genova
                                   FRANCESCA GENOVA
                                   Trial Attorney
                                   U.S. Department of Justice
                                   Civil Division
                                   Office of Immigration Litigation
                                   District Court Section
                                   P.O. Box 868, Ben Franklin Station
                                   Washington, DC 20044
                                   Tel.: (202) 305-1062
                                   Francesca.M.Genova@usdoj.gov




                                      7
   Case 2:21-cv-00067-Z Document 33 Filed 05/17/21                  Page 9 of 9 PageID 820



                              CERTIFICATE OF CONFERNCE

       This is to certify that I have conferred with counsel for Plaintiffs about the relief requested

herein and they oppose this motion to stay. Plaintiffs do not oppose the motion to expedite.

                              /s/ Francesca Genova
                              Francesca Genova
                              Trial Attorney
                              United States Department of Justice
                              Civil Division




                                 CERTIFICATE OF SERVICE

       I hereby certify that on May 17, 2021, I electronically filed the foregoing document with

the Clerk of the Court for the United States District Court for the Northern District of Texas by

using the CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.

                              /s/ Francesca Genova
                              Francesca Genova
                              Trial Attorney
                              United States Department of Justice
                              Civil Division




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